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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

RICHARD GARZA,                                        §
   Plaintiff,                                         §
                                                      §
V.                                                    §
                                                      §      CAUSE NO.: 5:17-cv-01047-OLG
GENERAL STAR NATIONAL INSURANCE                       §
COMPANY and MICHAEL KOEHLER                           §
    Defendants.                                       §


                JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT

       Pursuant to the Court’s Scheduling Order [ECF No. 5] and Local Rule CV-88, Plaintiff

Richard Garza (“Plaintiff”) and Defendants General Star Indemnity Company, improperly named

as General Star National Insurance Company, and Michael Koehler (collectively, “Defendants”)

file this Joint Alternative Dispute Resolution (“ADR”) Report.

A.     Status of Settlement Negotiations

       The parties have been engaged in informal discussions regarding settlement negotiations.

As per the court’s scheduling order, Plaintiff submitted a written demand on March 9, 2018.

Defendants submitted a written counter-offer of settlement on March 12, 2018, and Plaintiff has

rejected that offer. Settlement negotiation is currently continuing.

B.     Identity of Persons Responsible for Settlement Negotiations for Each Party

       On behalf of Plaintiff, Patrick C. McGinnis.

       On behalf of Defendants, Kristin C. Cummings.

C.     Appropriateness of ADR

       If this matter does not settle with current informal efforts, the parties believe that this matter

may be suitable for mediation with sufficient discovery being taken in this matter.


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D.     ADR Method and Provider

       The parties have conferred through their counsel of record and agree that non-binding

mediation is an appropriate ADR procedure for this case. The parties further agree to evenly share

the cost of mediation. The parties have agreed mediate the case with:

       Robert S. Trudeau
       McAllister Plaza
       9601 McAllister Freeway, Suite 1250
       San Antonio, Texas 78216
       Telephone: (210) 308-6688




Respectfully submitted,


By: /s/ Patrick C. McGinnis                                 By: /s/ Kristin C. Cummings
Patrick C. McGinnis                                         Kristin C. Cummings
Texas Bar No.: 13631900                                     Texas Bar No.: 24049828
Chad T. Wilson Law Firm, PLLC                               Zelle LLP
455 E Medical Center Blvd, Ste 555                          901 Main Street, Suite 400
Webster, Texas 77598                                        Dallas, Texas 75202
Telephone: (832) 415-1432                                   Telephone: (214) 742-3000
Facsimile: (281) 940-2197                                   Facsimile: (214) 760-8994

Attorney for Plaintiff                                      Attorney for Defendants




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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of Joint Alternative Dispute Resolution Report has

been forwarded to counsel of record listed below via Certified U.S. Mail, facsimile, hand delivery,

email, or electronic service on this day April 5, 2018.


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Lindsey P. Bruning
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                                                                    /s/ Chad T. Wilson
                                                                    Chad T. Wilson




                                                                             Joint ADR Report – Pg. 3
